Case 1:16-cv-00432-MEH Document 13 Filed 04/07/16 USDC Colorado Page 1 of:3.,

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Ss. Df woe
piglet OF COLORADO. ° =
2UIGAPR-7 AMI: 22
: : DENVER COUNTY, COLORADO JEFFREY P COLWELL

IN THE UNITED STATES DISTRICT Ce

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SANTAIGO ABREU

PLANTIFF DEP. CLK

BY______-

Plaintiff address
PALM BEACH FLORIDA
Actual address not listed in complaint

Plaintiff,

TAVIN FOODS INC dba RIVERBEND MARKET & EATERY ©
Defendant

1

60006 US Hwy 285 .
Bailey Colorado 80421

Defendant address BR,

Defendant
CASE NO. 16 cv 00432 GPG
MAGISTRATE: Gorden P. Gallagher

lam in receipt of the ORDER that has been produced by the court. Unfortunately the ORDER
has no bearing on my ability to retain an attorney. I have spoken with consul and the retainer ° o ve
fee alone is unreachable. “a
Please note the Tavin Foods Inc. is a sub chapter S corporation and does not constitute the
same structure as a full corporation financially or otherwise. .

It is “right and just” that | should be able to defend my company and my life savings in this
matter.

To this end | ask that my previous answers are reconsidered.

| also put forth a motion to dismiss for lack of subject matter jurisdiction under Federal Rule of:
the Civil Procedure 12(b)(1) - as Os Ss co

The Plaintiff’s entire case is a boiler plate complaint that will NOT stand up to the scrutiny of,
the Court. Shotz v. Cates, 256 F 3"? 1077, 1082 (11" Circut2001)
Case 1:16-cv-00432-MEH Document 13 Filed 04/07/16 USDC Colorado Page 2 of 3°...

The Plaintiff does not have Article III Standing, Standing t to Sue Under Title Ill of the ADA, 27 Colo. Law.
51, 52 Mar (1998)

 

There are no violations at this facility instead this suit is a scheme to extract payment from the ~ .
defendant, Brother VS Tiger Partner, LLC, 331 F Supp. 2"? 1368, 1375 (M.D.Fla 2004 :

It is highly unlikely that the Plaintiff has ever visited the establishment in question due to his residing in coe
Florida and his profound handicap. Molski v. Mandarin Touch Restaurant, 347F. Supp 2" 860, 863 3 (C.D. D.-
Cal. 2004).

A corporation is a person Citizen’s United. People have the right to a legal defense.

 

I again ask the Court to dismiss this serial suit.

  

PO Box 691

Bailey Co 80421 eg

 

 

 

 
Case 1:16-cv-00432-MEH Document 13 Filed 04/07/16 USDC Colorado Page 3 of 3

CERTIFICATE OF SERVICE

A copy of this document was served upon Plaintiff or upon Plaintiff's attorney. at the
following address: Brett N. Huff, Huff & Leslie, LLP 2480 Gray Street, Edgewater, CO. 80214. -
by ordinary U.S. Mail, postage
pre-paid, this day of April 7", 2016 we

a oo . Se .

Michael Abbondanza ‘
